Case 3:21-cv-00611-REP Document 31 Filed 12/13/21 Page 1 of 10 PagelD# 392

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
Richmond Division

KENNETH BROWN, et al.,

Plaintiffs,
Vv. Civil Action No. 3:21-cv-611

ENERGY SERVICES GROUP
INTERNATIONAL, INC.,

Defendant.
MEMORANDUM OPINION

The matter before the Court regards the PLAINTIFFS’ MOTION
FOR CONDITIONAL CERTIFICATION AND NOTICE (ECF No. 18). For the
reasons provided herein, the motion will be granted.
I. BACKGROUND
A, Factual Background and Allegations

This case involves a proposed collective action on behalf
of employees at Energy Services Group, Inc. (“ESGI”) who
allegedly were paid less than the requisite “time and a half for
hours worked overtime” under the Federal Labor Standards Act
(“FLSA”). ESGI serves domestic and international industrial,
government, and commercial clients focusing on nuclear, fossil,
and hyperpower energy. ECF No. 19 at 2; ECF No. 26 at 3.

The two Plaintiffs who bring this lawsuit, Kenneth Brown
and Mark Baron, are former employees of ESGI. Brown worked as a
Contract Engineer for ESGI from August 2016 until April 2019.

Baron worked as a Field Coordinator and Scheduler for ESGI from
Case 3:21-cv-00611-REP Document 31 Filed 12/13/21 Page 2 of 10 PagelD# 393

May 2018 until February 2019. MEMORANDUM OF LAW SUPPORTING
MOTION FOR CONDITIONAL CERTIFICATION AND NOTICE, ECF No. 19 at
1-2.

Plaintiffs define the Putative Class Members as: “All power
plant workers who ESGI paid at less than time and a half for
hours worked over 40 in workweek.” Plaintiffs seek to send
notice “to other similarly situated power plant workers who were
paid below their required time and a half when staffed to ESGI
in the past three (3) years.” ECF No. 18 at 1. Plaintiffs refer
to Brown and Baron as the class representatives. See ECF No. 24
1 31. Plaintiffs do not appear to explicitly address the
proposed counsel, but Zev H. Antell, Michael A. Josephson, and
Richard J. Burch are listed as the counsel of record.

B. Procedural History

On November 22, 2021, Plaintiffs filed the FIRST AMENDED
COMPLAINT (ECF No. 24), which seeks relief in the form of an
Order pursuant to Section 16(b) of the FLSA finding ESGI liable
to Plaintiffs and the Putative Class Members for their unpaid
overtime as well as liquidated damages in an amount equal to
their unpaid overtime. ECF No. 24 49 164-167. Plaintiffs also
request an order for attorneys’ fees and expenses as well as
pre- and post-judgment interest. Id. 9 168.

Both Brown and Baron were previously opt-in plaintiffs in

Ward v. ESGI, No. 4:20-cv-00171 (E.D. Va. Nov. 11, 2020). Ward
Case 3:21-cv-00611-REP Document 31 Filed 12/13/21 Page 3 of 10 PagelD# 394

was dismissed by stipulation of the parties on September 8, 2021
and the matter was terminated on September 9, 2021. Brown and
Baron were dismissed without prejudice. See ECF No. 1 47 13-16.

On November 9, 2021, Brown and Baron filed the PLAINTIFFS’
MOTION FOR CONDITIONAL CERTIFICATION AND NOTICE (ECF No. 18) and
accompanying MEMORANDUM OF LAW SUPPORTING MOTION FOR CONDITIONAL
CERTIFICATION AND NOTICE (ECE No. 19). The accompanying
memorandum contains ten exhibits for the Court to consider,
detailed below. On November 23, 2021, ESGI filed the DEFENDANT’S
MEMORANDUM IN OPPOSITION TO PLAINTIFF’S MOTION FOR CONDITIONAL
CERTIFICATION AND NOTICE (ECF No. 26), which is accompanied by
the RULE 41 STIPULATION OF DISMISSAL (ECF No. 26-1) from Ward v.
ESGI and the DECLARATION OF VICKI O’NEAL O’DELL (ECF No. 26-2),
the Human Resources Manager for ESGI. Plaintiffs replied on
November 29, 2021. See BROWN AND BARON’S REPLY IN SUPPORT OF
MOTION FOR CONDITIONAL CERTIFICATION AND NOTICE (ECF No. 27).
II. Legal Framework for Conditional Certification

Section 216(b) of the FLSA provides the legal framework by
which plaintiffs may bring a collective action against an
employer on behalf of themselves and a group of “similarly
Situated” employees for violations of the FLSA. Under the FLSA,
class certification requires that plaintiffs in the class (1) be

“similarly situated” and (2) “opt in” by filing with the Court
Case 3:21-cv-00611-REP Document 31 Filed 12/13/21 Page 4 of 10 PagelD# 395

their consent to the suit. Choimbol v. Fairfield Resorts, Inc.,
475 F. Supp. 2d 557, 562 (E.D. Va. 2006).

In the present matter, the Court only contemplates the
first requirement. The conditional certification, or notice
stage, is the initial, more lenient step in the certification
process. During this stage, the Court determines whether the
putative class members’ claims are sufficiently similar as to
merit sending notice of the action to possible class members.
The second stage of the conditional certification process occurs
if the defendant files a motion for decertification when
discovery is complete. Id. at 563. At this second stage, courts
apply a heightened standard to determine whether plaintiffs are
“similarly situated” for the collective action to proceed. Id.
III. Analysis

The FLSA does not define “similarly situated” and the
Fourth Circuit has not yet applied a standard for when
plaintiffs are considered “similarly situated.” Choimbol, 475 PF.
Supp. 2d at 562. However, courts within the Fourth Circuit have
found that putative class members are similarly situated when
they “raise a similar legal issue as to coverage, exemption, or
nonpayment of minimum wages or overtime arising from at least a
manageably similar factual setting with respect to their job

requirements and pay provisions.” Mendoza v. Baird Drywall &

 

Acoustic, Inc., No. 7:19-cv-882, 2021 WL 2435873, at *3 (W.D.
Case 3:21-cv-00611-REP Document 31 Filed 12/13/21 Page 5 of 10 PagelD# 396

Va. Jun. 15, 2021) (quoting Romero v. Mountaire Farms, Inc., 796
F. Supp. 2d 700, 705 (E.D.N.C. 2011)); Stone v. SRA Intern.,

Inc., No. 2:14cv209, 2014 WL 5410628, at *2 (E.D. Va. Oct. 22,

 

2014). “There must be sufficient reason to believe that there
are issues common to the proposed class that are central to the
disposition of the FLSA claims and that such common issues can
be substantially adjudicated without consideration of facts
unique or particularized as to each class member.” LaFleur v.

Dollar Tree Stores, Inc., No. 2:12-cv-00363, 2012 WL 4739534, at

 

*4 (E.D. Va. Oct. 2, 2012). The circumstances “need not be
identical. Differences as to time actually worked, wages
actually due and hours involved are, of course, not significant
to this determination.” Romero, 796 F. Supp. 2d at 705. The
Court has the discretion, even with minimal evidence, to grant
plaintiffs conditional certification of a representative class.
Choimbol, 475 F. Supp. 2d at 563.

Accordingly, at the conditional certification stage, the
Court applies a “fairly lenient standard.” See, e.g., Clinton v.

Gov't Employees Ins. Co., No. 2:16cv430, 2017 WL 3025558, at *2

 

(E.D. Va. July 14, 2017). This stage has been split by most
courts within the Eastern District of Virginia into a two-part
analysis. First, plaintiffs must “make a preliminary factual
showing that a similarly situated group of potential plaintiffs

exists.” Id. (quotations omitted). Second, plaintiffs must
Case 3:21-cv-00611-REP Document 31 Filed 12/13/21 Page 6 of 10 PagelD# 397

demonstrate that they and other potential plaintiffs together
were “victims of a common policy or plan that violated the law.”
Id. (internal quotations omitted).

First, in the present case, Plaintiffs appear to be
“similarly situated with respect to the legal and, to a lesser
extent, the factual issues to be determined.” Id. (quotations
omitted). Plaintiffs’ evidence indicates that common issues
exist among the proposed class that are central to _ the
disposition of the FLSA claims that can be adjudicated together.
Plaintiffs believe they are similarly situated to the Putative
Class Members because they all purportedly: (1) received less
than time and a half for overtime; (2) were all required or
permitted to work overtime without receiving compensation at the
legal rate of pay; (3) were all staffed by ESGI to power plant
operators; (4) were all hourly employees of ESGI; (5) were never
guaranteed a salary; (6) were only paid for hours actually
worked; and (7) the amount of pay received was not reasonably
related to any purported salary. ECF No. 19 at 2-3.

To support the assertion that Plaintiffs and Putative Class
Members are similarly situated in that they were not paid in
compliance with the FLSA, Plaintiffs submit payroll records,
employment agreements, timesheets, and summary data. ECF No. 19
at 5; Exhibits 1-10. In particular, Exhibit 10 contains 307

Putative Class Members “who were [allegedly] paid less than time
Case 3:21-cv-00611-REP Document 31 Filed 12/13/21 Page 7 of 10 PagelD# 398

and a half for hours worked over 40 in a workweek.” ECF No. 27
at 3. Plaintiffs aver that this list indicates that the
potential class members “only received their straight time for
overtime hours worked.” Id.

Second, Plaintiffs assert that ESGI’s denial of time and a
half overtime pay is part of a uniform pay practice and plan
that applies to a distinct group of workers. Specifically,
Plaintiffs allege that 307 Putative Class Members who were
staffed by ESGI were impacted by its pay practice. ESGI admits
that it applied a common pay policy to Plaintiffs and Putative
Class Members. See ECF No. 26-2 @ 8. According the Declaration
of Vicki O’Neal O’Dell, the Human Resource Manager for ESGI, the
company “classifies a large majority of [its power plant
workers] as . . . exempt.” Id. These employees, according to
O'Dell receive a “salary” plus “an hourly rate per hour worked.”
Id. Further, O'Dell admits that ESGI’'’s pay policy is
“custom[ary] in the power industry.” Id. Thus, a common pay
scheme applied to similarly situated employees appears to exist.

Plaintiffs allege that ESGI’s self-described pay policy
fails the FLSA “salary basis” test. ECF No. 1 I 26-63. Based on
the uniform pay policy, the salary basis test can be analyzed
“without consideration of facts unique or particularized to each
class member.” LaFleur, 2012 WL 4739534 at *4. Accordingly, the

Court finds that the salary basis test serves as the “common
Case 3:21-cv-00611-REP Document 31 Filed 12/13/21 Page 8 of 10 PagelD# 399

legal thread” connecting Plaintiffs and Putative Class Members,
which warrants conditional certification. ECF No. 27 at 9.
IV. Proposed Form and Manner of Notice

Plaintiffs request that the Court authorize them to
disseminate by first class U.S. Mail, e-mail, and text message
the proposed Notice and Consent Forms in accordance with the
schedule outlined in the draft ORDER GRANTING PLAINTIFFS’ MOTION
FOR CONDITIONAL CERTIFICATION AND NOTICE TO PUTATIVE CLASS
MEMBERS. See ECF No. 18-1 at 2. Plaintiffs encourage the Court
to order ESGI to provide their counsel with the contact
information listed above for the Punitive Class Members. ECF No.
19 at 17. Plaintiffs assert that their counsel should be allowed
to send identical reminder notices mid-way through the 60-day
notice period. Id. at 16. Plaintiffs also propose to follow-up
with certain Putative Class Members by telephone if the notice
and consent forms sent to such individuals are returned as
undeliverable. Id. at 17. Plaintiffs state that the proposed
forms and notice are appropriate because the information
requested will provide Brown and Baron the best chance of
reaching workers who live nationwide. ECF No. 27 at 13.

In response, Defendant avers that the language and methods
used for the proposed notice extend beyond those necessary to
reach the potential class members. ECF No. 26 at 17. Only mail,

according to ESGI, should be relied upon to reach potential
Case 3:21-cv-00611-REP Document 31 Filed 12/13/21 Page 9 of 10 PagelD# 400

class members. Accordingly, ESGI asserts that it should not be
required to provide Plaintiffs with phone numbers or email
addresses for the Putative Class Members. Id.

Courts should not modify a plaintiff's proposed notice

“unless such alteration is necessary.” Heitman v. City of

 

Chicago, No. 04cv3304, 2004 WL 1718420, at *3 (N.D. Ill. June
30, 2004) (citation omitted). Plaintiffs’ requested information
will offer the best opportunity for contacting employees across
the country. “[(C]ommunication through email is [now] the norm.”

Butler v. DirectSAT USA, LLC, 876 F. Supp. 2d 560, 575 (D. Md.

 

2012) (citing In re Deloitte & Touche, LLP Overtime Litig., 2012

 

WL 340114, at *2 (S.D.N.Y¥. Jan. 17, 2012)). “Indeed, notice by
email may be particularly appropriate in this case because the
potential plaintiffs are technicians who are ‘likely to be

comfortable communicating by email.’” Id. at 575 (Lewis v. Wells
Fargo & Co., 669 F. Supp. 2d 1124, 1128 (N.D. Cal. 2009)).
Courts within the Fourth Circuit have found notice through
regular mail, email, and text messaging to be warranted;
however, direct telephone calling and follow-up text messages 30
days after sending an initial text message have been held to be

unwarranted. Irvine v. Destination Wild Dunes Management, Inc.,

 

132 F. Supp. 3d 707, 711-12 (D.S.C. Sep. 14, 2015).
Accordingly, the Court finds the proposed notice to be

acceptable as to the initial notice being disseminated via mail,
Case 3:21-cv-00611-REP Document 31 Filed 12/13/21 Page 10 of 10 PagelD# 401

e-mail, and telephone. Plaintiffs may also send one reminder
mid-way through the notice period via e-mail or mail.
Vv. CONCLUSION

Based on the lenient standard for conditional
certification, the Court grants PLAINTIFFS‘ MOTION FOR
CONDITIONAL CERTIFICATION AND NOTICE (ECF No. 18). Arguably,
discovery will produce more information about the members within
the proposed class. In any event, Plaintiffs “have made a
sufficient showing” that they are similarly situated to the

Putative Class Members. Houston v. URS Corp., 591 F. Supp. 2d

 

827, 834 (E.D. Va. Dec. 17, 2008). The parties demonstrate that
ESGI instituted a “common policy or plan” regarding a weekly

salary plus hourly and overtime wages. Earl v. Norfolk State

 

Univ., No. 2:13cv148, 2014 WL 6608763, at *6 (E.D. Va. Nov. 18,
2014). Plaintiffs’ evidence generates “more than mere
allegations” regarding the uniform pay practice and creates a
common legal question regarding whether ESGI’s pay policy can

withstand the salary basis test. McNeil v. Faneuil, Inc., No.

 

4:15cv81, 2016 WL 11673836, at *4 (E.D. Va. Mar. 2, 2016).
It is so ORDERED.

/s/ (CE?

Robert E. Payne
Senior United States District Judge

 

Richmond, Virginia
Date: December {3 , 2021

10
